Case 2:15-cv-01631-JRG-RSP Document 31 Filed 04/21/16 Page 1 of 3 PageID #: 135




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  DISPLAY TECHNOLOGIES, LLC,

                        Plaintiff,
                                                    Civil Action No. 2:15-cv-1631-JRG-JRP
                 v.
                                                       CONSOLIDATED LEAD CASE
  RICOH AMERICAS CORPORATION, et
                                                         JURY TRIAL DEMANDED
  al.,

                        Defendants.


                                 JOINT MOTION TO DISMISS

         Plaintiff Display Technologies, LLC (“Plaintiff”), and Defendant C&A IP Holdings, LLC

 (“Defendant”), pursuant to Fed. R. Civ. P. 41(a)(2) and (c), hereby move for an order dismissing

 Plaintiff’s claims in this action against Defendant WITH PREJUDICE and Defendant’s

 counterclaims WITH PREJUDICE, with each party to bear its own costs, expenses, and attorneys’

 fees.
Case 2:15-cv-01631-JRG-RSP Document 31 Filed 04/21/16 Page 2 of 3 PageID #: 136




       DATED April 21, 2016.              Respectfully submitted,

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Case 2:15-cv-01631-JRG-RSP Document 31 Filed 04/21/16 Page 3 of 3 PageID #: 137




                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 21st day of April, 2016, I electronically filed the foregoing
 document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
 Division, using the electronic case filing system of the court. The electronic case filing system
 sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
 accept this Notice as service of this document by electronic means.

                                               /s/ Neal Massand___
                                               Neal Massand
